                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION


United States of America,               )
                            Plaintiff,  )
vs.                                     ) Case No. 08-00026-04-CR-W-FJG
Christopher L. Elder,                   )
                            Defendants. )



                                        ORDER
       Pending before the Court are defendant Elder’s motion to suppress (Doc. #117),
filed September 24, 2008, and the government’s suggestions in opposition (Doc. #131),
filed October 15, 2008.
       An evidentiary hearing of this matter was held on October 28, 2008, and a report
and recommendation (Doc. #221) entered by United States Magistrate Judge Sarah W.
Hays on May 1, 2009. Defendant Elder filed objections to Magistrate Judge Hays’ report
and recommendation on May 1, 2009 (Doc. #222).
       The Court, after independent review of the record and applicable law, adopts and
incorporates by reference herein, the magistrate’s findings and conclusions. Therefore, the
Court finds that defendant Elder’s motion to suppress the testimony of witness Hearn as
to her lay identification of defendant’s purported handwriting on photo copies of previously
faxed prescriptions on due process grounds that the procedure used by the DEA was
unconstitutionally suggestive (Doc. #117) should be denied.
       Accordingly, it is
       ORDERED that the magistrate’s findings and conclusions are hereby adopted and
incorporated herein by reference. It is further
       ORDERED that defendant Elder’s motion to suppress the testimony of witness
Hearn as to her lay identification of defendant’s purported handwriting on photo copies of



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previously faxed prescriptions on due process grounds that the procedure used by the DEA
was unconstitutionally suggestive (Doc. #117) is denied.


                                               /s/Fernando J. Gaitan, Jr.
                                               Judge Fernando J. Gaitan, Jr.
                                               Chief United States District Judge


Dated: 05/27/09
Kansas City, Missouri




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